                Case:
ILND 450 (Rev. 10/13)    3:15-cv-50283
                      Judgment in a Civil Action   Document #: 53 Filed: 08/24/16 Page 1 of 1 PageID #:375

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

Christopher E. Rixon, et al.,

Plaintiff(s),
                                                                    Case No. 15 C 50283
v.                                                                  Judge Frederick J. Kapala

Danisco USA Inc., et al.,

Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
          Defendant(s) shall recover costs from plaintiff(s).


                    other: The settlement agreements are approved and plaintiffs' claims are dismissed.

This action was (check one):

   tried by a jury with Judge       presiding, and the jury has rendered a verdict.
   tried by Judge       without a jury and the above decision was reached.
   decided by Judge Frederick J. Kapala on a motion for court approval of settlement and dismissal of named
and opt-in plaintiffs’ claims.



Date: 8/24/2016
                                                                 Thomas G. Bruton, Clerk of Court
                                                                 /S/ Susan Bennehoff, Deputy Clerk
